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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                         Criminal No. 22-159 (WMW/TNL)

 UNITED STATES OF AMERICA,

                      Plaintiff,                             ORDER TO UNSEAL
                                                               INDICTMENT
        v.

 SHAMIR NATHANN BLACK,

                     Defendant.

       This matter is before the Court on the United States’s Motion to Unseal the

Indictment. (Dkt. No. 17.) On July 27, 2022, the defendant Shamir Nathann Black was

indicted on charges of carjacking and discharge of a weapon during and in relation to a

crime of violence. (Dkt. No. 11.) At that time, the prosecution made, and the Court

granted, an oral motion to seal the indictment until the defendant made his first appearance.

(Dkt. Nos. 13 and 14.) The United States now moves the Court to unseal the Indictment

in this matter.

       Therefore, pursuant to Local Rule 49.1(e)(1)(B), IT IS HEREBY ORDERED that

the Indictment filed in this matter shall no longer be maintained under seal.



Dated: August 4, 2022                             s/ John F. Docherty
                                                  John F. Docherty
                                                  United States Magistrate Judge
